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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


WILMER CUTLER PICKERING HALE
AND DORR LLP,

               Plaintiff,

       v.                                                Case No. 1:25-cv-917-RJL

EXECUTIVE OFFICE OF THE
PRESIDENT, et. al.,

               Defendants.


                                     [PROPOSED] ORDER

       Upon consideration of the motion of 808 Law Firms for leave to file an Amici Curiae

brief and such matters as are just and proper, it is hereby

       ORDERED that the aforementioned Motion is GRANTED; and it is further

       ORDERED that the Amici Curiae brief attached as Exhibit 1 to the Motion and the

accompanying Appendix A are deemed filed with this Court upon entry of this Order.

       Entered this _____ day of _____, 2025

                                                               __________________________
                                                               Honorable Richard J. Leon
                                                               United States District Judge
